Case: 4:04-cv-00141-FRB Doc. #: 1-2 Filed: 02/05/04 Page: 1 of 9 PageID #: 4
Case: 4:04-cv-00141-FRB Doc. #: 1-2 Filed: 02/05/04 Page: 2 of 9 PageID #: 5
Case: 4:04-cv-00141-FRB Doc. #: 1-2 Filed: 02/05/04 Page: 3 of 9 PageID #: 6
Case: 4:04-cv-00141-FRB Doc. #: 1-2 Filed: 02/05/04 Page: 4 of 9 PageID #: 7
Case: 4:04-cv-00141-FRB Doc. #: 1-2 Filed: 02/05/04 Page: 5 of 9 PageID #: 8
Case: 4:04-cv-00141-FRB Doc. #: 1-2 Filed: 02/05/04 Page: 6 of 9 PageID #: 9
Case: 4:04-cv-00141-FRB Doc. #: 1-2 Filed: 02/05/04 Page: 7 of 9 PageID #: 10
Case: 4:04-cv-00141-FRB Doc. #: 1-2 Filed: 02/05/04 Page: 8 of 9 PageID #: 11
Case: 4:04-cv-00141-FRB Doc. #: 1-2 Filed: 02/05/04 Page: 9 of 9 PageID #: 12
